                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                           CASE NO. 3:24-CV-440-KDB-DCK

 KELLY MILLIGAN,                                  )
                                                  )
                 Plaintiff,                       )                 ORDER
                                                  )
    v.                                            )
                                                  )
 MERRILL LYNCH, et al.,                           )
                                                  )
                 Defendants.                      )
                                                  )

         THIS MATTER IS BEFORE THE COURT on the parties’ “Joint Submission

Regarding Discovery And Briefing Schedule Re: Defendants’ Motion For Summary Judgment”

(Document No. 50) filed October 18, 2024. This motion has been referred to the undersigned

Magistrate Judge pursuant to 28 U.S.C. § 636(b), and immediate review is appropriate. Having

carefully considered the motion and the record, the undersigned will grant the motion.

         IT IS, THEREFORE, ORDERED that the parties’ “Joint Submission Regarding

Discovery And Briefing Schedule Re: Defendants’ Motion For Summary Judgment” (Document

No. 50) is GRANTED.

         The case deadlines are revised as follows: Defendants shall produce additional discovery

materials on or before November 11, 2024; Plaintiff shall file a response to “Defendant’s Motion

For Summary Judgment” (Document No. 41) on or before December 6, 2024; and Defendants

shall file a reply in support of the “…Motion For Summary Judgment” (Document No. 41) on or

before December 20, 2024.

         SO ORDERED.

                                  Signed: October 21, 2024




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